EXHIBIT A
To: Judge Komitte
From: Alonzo Scott
Date: 4-10-22


I am writing this letter today to convey to the beat of my ability my sincere regrets and deepest
sorrow in knowing that my action of DISTRIBUTION OF AND POSSESSION WITH INTENT
TO DISTRIBUTE AN CONTROLLED SUBSTANCE Have caused so much hurt to as well as
myself. My addiction to narcotics has altered my reasoning which lead to a broad series of
horrible decision which stems in my teenage years and persist throughout my life basically. I
lived suspiciously as well as defensively for most of my life .I have failed to acknowledge the
pain harm i have caused others not because i do not feel regretful nor sorrow but because i am
frustrated with my inability to express my remorse in a better manner. Those decision to commit
such act has etched hurt & pain into my community. But i have contributed an tremendous
amount of effort towards moving beyond this way of thinking and this way of life . I have chosen
to seek counseling an a routine basis(BRIDGE BACK TO LIFE ) which has been center of
information . It has also help me developed a sense of self awareness which has been aiding in
change of mind & heart . I also made a sound decision to pursue college degree in Business
Finance. I have been actively engagaged in the curriculum off and on since (2019). The Faculty
has been truly resourceful factor and very uplifting since my inception into the college. I look
forward to continuing my education upon the conclusion of the case. I also still feel that mental
health & drug treatment programming should be something that i should consider due to the fact
that both are critical factors in reinvention and transformation of my recovery .I know it may
appear to you that i am a career offender but contrary to the belief , i am everything but that ,and
that is evident. Those tremendous strides towards change ,recovery, mental health is duly noted. I
inspire to do better to be a better man to my family and friends, to be a better to my church to be
a remodel in the community to be a better father figure to (Latoya's) children and to be the man
Latoya would love to marry some day. I believe that we have established a sound interest within
each other an interest we are willing to explore for eternity.


I am very aware that was given two opportunities at Bail --which i truly appreciate. I feel that i
have done exceptionally well on both instants . I maintained employment , was in a Dual focus
instants in college at some point in the beginning of this criminal proceeding and re-enrolled in
this pass Spring Semester but had to withdraw due to scheduling conflict, reported to Pre-trial on
a demand basis .
EXHIBIT B
To Whom it May concern,
This is a character letter for Alonzo Scott. I have known Alonzo over 20
years, my name is Latoya Hill and he has been my long time mate and now
fiancé.
     Alonzo is a very manner-able and respectful human being. What drew
me to him as he became an adult and we reconnected was his potential,
determination, dedication and drive.
     As of recent Alonzo was working and attending college courses which
he took very seriously, exemplifying extraordinary grades. He’s always
reading or always willing to learn about any and everything. He has even
taught me and my twin sons’ a lot. In which he plays a very influential role
in their lives at the absorbent age of fourteen, of two young men who
suffered the loss of their father when they were six months old! Alonzo
adores my children and they love him just as much. He sets good
examples for them and gives them advice about this world and what it does
have to offer if you do the right thing.
      I grew up in a very religious setting, with my Uncle being a World
Renowned Bishop. During Covid of course churches were closed so
Alonzo and I joined a social media prayer community called “the Gathering”
;time of restoration. This group is intended to invite people who are
searching or seeking rather to form a deeper relationship with Christ
through Bible Study. It entails Sunday Prayer calls, bible study, book
readings, praised & worship during the midweek. Now that restriction’s
have been lifted we hope that one day we as a family can attend church
physically, which is a little difficult due to Alonzo’s EMU Monitor.
      Alonzo has made many mistakes in the past that he truly regrets and
repents and asks forgiveness for everyday! He just wants to start over and
anew. And get back into society, work, complete his education and
eventually open a business.
      He is a loving kind hearted man who would like a second chance at
life, and to be a father figure to my twins’ and for us to create a life
together.
      Family is very important to him. He has brought so much structure to
my life and my household. All of these characteristics will make him a great
asset to Society.


Latoya Hill
Dear Judge Komittee
My name is Shaqueena Malagic. Currently I am stay at home mom. I have
known Alonso for 27 years. We were raised in the same neighborhood. We
are very close and we communicate often, I know Alonzo very well.

There has been a few major circumstances in Alonzos life that have led him
down the path that he has chosen.
 For example, growing up he was raised by single mother of three &
thats effected him because Alonzo did not have a positive father figure. With
that being said his mother has kicked him out at a early age,if I’m not
mistaken it was at the age of fifteen through seventeen, during that time he
was in between couches stairways and homeless shelters as if it wasn’t bad
enough he ended up not completing his high school education.

I definitely believe this may have contributed to his participating in the crime
to which he plead guilty. Alonzo has become a custom to a survival lifestyle.
Being that he has Dealt with homeless he ultimately did what he had to do to
survive. Some of the decisions he has made in his younger life has impacted
him drastically. There has been instances where he has abused and sold
drugs which led him to being incarcerated young. He knew that if he was
caught he would have a roof over his head as well as food,

Alonzo has been incarcerated for total of 10 years.While being incarcerated
he was able to reflect on his decisions and grow as a man,& he was able to
obtain a proper education, Work on his mental health ,Set goals as well as
overcome his drug addiction!

Some of the goals he set is to complete college, start a
family and become the father figure he always wanted!
He seeks a fulfilling life, with hopes to also purchase a
home as well as start another business.

A few years back when Alonzo was released from prison
he open up a business and hired employees as well as
had a company vehicle. it was short-lived but he still did it!
He no longer wanted to live the life that he lived before
and it showed.
 Alonzo is a kind hearted man who has done wrong and try’s to make up for it
every day. He and I often speak of the decisions he has made and how he
regrets them so deeply and wishes he had made different Decisions in life.

Some of the things he regrets are leaving home at a early age, having to quit
school dealing with drug addiction, and most importantly poisoning the
community and affecting families.

I see him trying to make up for his bad decisions by speaking to Younger men
in the community about how they can change their ways!
As well as Setting a good example for everyone all around
by admitting his wrongs and no longer participating in
illegal things.
Alonzo always demonstrates compassion,When he speaks about how much
he has grown and changed he is genuinely sincere. Even though his mother
has kicked him out young he has so much love for his family.


Allonzo has been employed at a transportation company
where he transports elderly clients to medical
appointments. He sticks with very strict routine.
Allonzo has been employed with this company for about
one year.He tells me he has a good relationship with his
clients and they talk about many things and he wishes to
live that long Happy like them. With income he earned he
often buys his family members gifts. And sends money to
family members who lives out of state.
Alonzo has done a number of good deed by donating his
belonging such as vehicles and furniture to family’s in
need.

 Allonzo has many traits he’s a very hard worker. He’s working about 70 hours
a week.

He’s driven Very determined and capable kind and sincere. At this point I
definitely like to say he’s a good role model He’s remorseful and
compassionate. And most importantly he’s kind

He has made many contribution to his family, as well as the community.By
writing his wrongs, telling others not to do wrong helping those in need
and setting a good example.
Alonzo now has a good reputation
A lot of people thought there was no hope for him but he has proven everyone
wrong!
By making a change in his lifestyle.
He has made changes by Becoming a man of his word by
Maintaining a job enrolling in Staten Island college and sticking to the goals he
has set!
he’s very respected in the community he is liked and loved by manny! I’m
very proud of the progress he has made and I look forward to seeing the
person he is becoming amd the man he has grown to be

Thank you so much for your Time if you have questions or
would like to know anything else feel free to reach out to
me via email



Sent from my iPhone
October 7, 2021


To whom it may concern;

This letter is a character letter for Alonzo Scott. As a Reverend of the New Jerusalem
Worship Center in Queens New York I have had the distinct privilege of knowing Alonzo's
long time mate Latoya Hill and Alonzo Scott. In such, the two have used their faith as a
primary place of instructions and guidance on how to be better human beings. The
relationship has blossomed in a manner that is most evident in Alonzo's aspiration to be a
man of character good rapport and family centered individual. In addition to serving as an
Associate Minister at the NJWC I also host an online social media prayer community. The
prayer community is called the Gathering; time of restoration time of restoration. This group
is intended to invite those who are seeking to form deeper relationship with Christ through
Bible study, Sunday prayer calls, book readings, and praise and worship during the midweek.
All components meet the objective of supporting those like Alonzo and Latoya whose
affiliation with the traditional church was altered during the pandemic. Although, church
doors were closed this did not impede both their desires to regularly participate in virtual
learning. It is my belief that in concert of his career as an Ambulette driver and a student he
endeavors to address the whole man. Alonzo's desire to gain mastery in his academia, his
vocation, and his spiritual life cannot be ignored.

I truly, believe that these core values are the ingredients needed for restorative justice and
re-entry to community. As a professor of Nyack College in the Social Work department it is
my belief that in order to address criminogenic behaviors we must use the lens of social
emotional support and reform. It is my hope that we will continue to work to connect
individuals like Alonzo with stakeholders in their community that will help to support the
needed behavior modification. Alonzo is such the individual that can profit from remaining
in the community with adequate resources. He is a loving, kind hearted man who made a
mistake, and understands the ramifications. He would like a second chance to continuing
working and earning a degree, it is his desire to be a father-figure for his fiancée and her
two boys. The two boys suffered the loss of their father, and after a decade Latoya
dedicated her life exclusively to the lives of her two boys, she now has a man in her life that
adores her boys and wants to create a life together. Please consider, family reunification for
Alonzo Scott and Latoya Hill, I implore you to consider his release to return to work, school
and family while awaiting trial.


Sincerely yours,


Dr. Rev. Marcia Herrera, LMSW
